    1                                UNITED STATES DISTRICT COURT
    2
                                     WESTERN DISTRICT OF MISSOURI
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    4    DONALD JEFFERY,                               Case No.: 3:18-cv-05002-BCW
    5
                                 Plaintiff,             NOTICE OF VOLUNTARY DISMISSAL
    6
         vs.                                                    WITH PREJUDICE
    7
         ONEMAIN FINANCIAL GROUP, LLC., a
    8    corporation, and DOES 1 to 10, inclusive,
    9                            Defendant(s).
    10

    11          Pursuant to F.R.C.P. 41(a)(1) of the Federal Rules of Civil Procedure, Plaintiff
    12
         Donald Jeffery by and through his undersigned attorneys, hereby voluntarily dismisses
    13
         Defendant OneMain Financial Group, LLC. with prejudice from this action in its entirety,
    14

    15   with each party to bear their own costs and attorneys’ fees.
    16
                                                          RESPECTFULLY SUBMITTED,
    17

    18
         Dated: April 12, 2018                            PRICE LAW GROUP, APC
    19

    20                                                    By: _/s/ Mark D. Molner

    21
                                                          Mark D. Molner Mo# 62189
                                                          Attorney for Plaintiff
    22                                                    Donald Jeffery
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                                 NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE


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                                            CERTIFICATE OF SERVICE
    1

    2    The undersigned hereby certifies that a true copy of the foregoing was served on the following

    3    parties via E-mail only unless otherwise indicated on the 12th day of April 2018.
    4

    5
         Brett Goodman
    6
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         633 West Fifth Street, Suite 2800
    8
         Los Angeles, CA. 90071
    9    T: 213.375.3543
    10
         Attorneys for Defendant
    11   OneMain Financial Group, LLC
    12

    13
                                                              /s/ Mark D. Molner
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                                NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE


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